                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                           CASE NO. 5:11-cr-00073-RLV-DSC-26

UNITED STATES OF AMERICA )
                         )
v.                       )                   ORDER
                         )
TIMMY JOE TAYLOR,        )
                         )
     Defendant.          )
                         )

        THIS MATTER is before the Court on U.S. Probation Officer Barbara P. Carrigan’s

request for the Court’s approval to obtain copies of Defendant Taylor’s juvenile records from the

Wilkes County Juvenile Court.

        On February 8, 2013, Defendant appeared before U.S. Magistrate Judge David Keesler

and pleaded guilty to Conspiracy to Distribute, Possess with Intent to Distribute, and

Manufacture Methamphetamine. (Doc. 357.) During an interview with Officer Carrigan on

March 22, 2013, Defendant advised that he had a juvenile record in Wilkes County, North

Carolina. He added that he was detained for two years at a juvenile detention facility.

        IT IS, THEREFORE, ORDERED that the U.S. Probation Office be authorized to

request the Wilkes County Juvenile Court to open its file concerning Defendant Taylor and allow

any and all juvenile records to be divulged for the purpose of a presentence report. This authority

shall terminate upon completion of the presentence report.

 Signed: March 28, 2013




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